
PER CURIAM.
Defendant’s conviction is affirmed, but the death penalty imposed is annulled and set aside, and the case is remanded to the district court with instructions to sentence the defendant to imprisonment at hard labor for a period of twenty (20) years. Selman v. Louisiana, 428 U.S. 906, 96 S.Ct. 3214, 49 L.Ed.2d 1212, rehearing denied, 429 U.S. 890, 97 S.Ct. 248, 50 L.Ed.2d 173 (1976); Roberts v. Louisiana, 428 U.S. 325, 96 S.Ct. 3001, 49 L.Ed.2d 974, rehearing denied, 429 U.S. 890, 97 S.Ct. 248, 50 L.Ed.2d 173 (1976); State v. Sledge, La., 340 So.2d 205 (1976); State v. Lee, La., 340 So.2d 180 (1976).
